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 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Jeanette Jaime,                          Case No.

12               Plaintiff,
                                                Complaint For Damages And
13       v.                                     Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14     The Vons Companies, Inc., a              Act; Unruh Civil Rights Act
       Michigan Corporation; and Does 1-
15     10,

16               Defendants.

17
18         Plaintiff Jeanette Jaime complains of The Vons Companies, Inc., a

19   Michigan Corporation; and Does 1-10 (“Defendants”), and alleges as follows:

20
21
       PARTIES:
22
       1. Plaintiff is a California resident with physical disabilities. She suffers
23
     from a T-8 spinal cord injury and requires and uses a wheelchair for mobility.
24
       2. Defendant The Vons Companies, Inc. owned Vons located at or about
25
     14200 Palm Dr., Desert Hot Springs, California, in March 2020.
26
       3. Defendant The Vons Companies, Inc. owns Vons (“Store”) located at or
27
     about 14200 Palm Dr., Desert Hot Springs, California, currently.
28
       4. Plaintiff does not know the true names of Defendants, their business

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 1   capacities, their ownership connection to the property and business, or their
 2   relative responsibilities in causing the access violations herein complained of,
 3   and alleges a joint venture and common enterprise by all such Defendants.
 4   Plaintiff is informed and believes that each of the Defendants herein,
 5   including Does 1 through 10, inclusive, is responsible in some capacity for the
 6   events herein alleged, or is a necessary party for obtaining appropriate relief.
 7   Plaintiff will seek leave to amend when the true names, capacities,
 8   connections, and responsibilities of the Defendants and Does 1 through 10,
 9   inclusive, are ascertained.
10
11     JURISDICTION & VENUE:
12     5. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15     6. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22
23     FACTUAL ALLEGATIONS:
24     8. Plaintiff went to the Store in March 2020 with the intention to avail
25   herself of its goods and to assess the business for compliance with the
26   disability access laws.
27     9. The Store is a facility open to the public, a place of public
28   accommodation, and a business establishment.


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 1     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 2   to provide wheelchair accessible checkout stand counters in conformance with
 3   the ADA Standards as it relates to wheelchair users like the plaintiff.
 4     11. In fact, on the date of the plaintiff’s visit, the plaintiff approached the
 5   manager of the Store and requested assistance at an accessible checkout stand.
 6     12. The manager, however, refused to assist the plaintiff at an accessible
 7   counter because, according to the manager, it would be unfair to the other
 8   customers who were waiting in line at counters that were not designed for
 9   persons with disabilities.
10     13. The defendants’ lack of a policy to assist persons with disabilities at
11   counters that were designed for persons with disabilities caused the plaintiff
12   frustration and difficulty.
13     14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
14   personally encountered these barriers.
15     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
16   wheelchair accessible facilities. By failing to provide accessible facilities, the
17   defendants denied the plaintiff full and equal access.
18     16. The failure to provide accessible facilities created difficulty and
19   discomfort for the Plaintiff.
20     17. Even though the plaintiff did not confront the barriers, on information
21   and belief the defendants currently fail to provide wheelchair accessible
22   produce bags.
23     18. The defendants have failed to maintain in working and useable
24   conditions those features required to provide ready access to persons with
25   disabilities.
26     19. The barriers identified above are easily removed without much
27   difficulty or expense. They are the types of barriers identified by the
28   Department of Justice as presumably readily achievable to remove and, in fact,


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 1   these barriers are readily achievable to remove. Moreover, there are numerous
 2   alternative accommodations that could be made to provide a greater level of
 3   access if complete removal were not achievable.
 4     20. Plaintiff will return to the Store to avail herself of its goods and to
 5   determine compliance with the disability access laws once it is represented to
 6   him that the Store and its facilities are accessible. Plaintiff is currently deterred
 7   from doing so because of her knowledge of the existing barriers and her
 8   uncertainty about the existence of yet other barriers on the site. If the barriers
 9   are not removed, the plaintiff will face unlawful and discriminatory barriers
10   again.
11     21. Given the obvious and blatant nature of the barriers and violations
12   alleged herein, the plaintiff alleges, on information and belief, that there are
13   other violations and barriers on the site that relate to her disability. Plaintiff
14   will amend the complaint, to provide proper notice regarding the scope of this
15   lawsuit, once she conducts a site inspection. However, please be on notice that
16   the plaintiff seeks to have all barriers related to her disability remedied. See
17   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
18   encounters one barrier at a site, she can sue to have all barriers that relate to
19   her disability removed regardless of whether she personally encountered
20   them).
21
22   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
23   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
24   Defendants.) (42 U.S.C. section 12101, et seq.)
25     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
26   again herein, the allegations contained in all prior paragraphs of this
27   complaint.
28     23. Under the ADA, it is an act of discrimination to fail to ensure that the


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 1   privileges, advantages, accommodations, facilities, goods and services of any
 2   place of public accommodation is offered on a full and equal basis by anyone
 3   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 4   § 12182(a). Discrimination is defined, inter alia, as follows:
 5            a. A failure to make reasonable modifications in policies, practices,
 6               or procedures, when such modifications are necessary to afford
 7               goods,     services,   facilities,   privileges,     advantages,   or
 8               accommodations to individuals with disabilities, unless the
 9               accommodation would work a fundamental alteration of those
10               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
11            b. A failure to remove architectural barriers where such removal is
12               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
13               defined by reference to the ADA Standards.
14            c. A failure to make alterations in such a manner that, to the
15               maximum extent feasible, the altered portions of the facility are
16               readily accessible to and usable by individuals with disabilities,
17               including individuals who use wheelchairs or to ensure that, to the
18               maximum extent feasible, the path of travel to the altered area and
19               the bathrooms, telephones, and drinking fountains serving the
20               altered area, are readily accessible to and usable by individuals
21               with disabilities. 42 U.S.C. § 12183(a)(2).
22     24. When a business provides facilities such as checkout counters, it must
23   provide accessible checkout counters.
24     25. Here, accessible checkout counters were not provided in conformance
25   with the ADA Standards.
26     26. When a business provides facilities such as produce bags, it must
27   provide accessible produce bags.
28     27. Here, accessible produce bags have not been provided in conformance


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 1   with the ADA Standards.
 2     28. The Safe Harbor provisions of the 2010 Standards are not applicable
 3   here because the conditions challenged in this lawsuit do not comply with the
 4   1991 Standards.
 5     29. A public accommodation must maintain in operable working condition
 6   those features of its facilities and equipment that are required to be readily
 7   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 8     30. Here, the failure to ensure that the accessible facilities were available
 9   and ready to be used by the plaintiff is a violation of the law.
10
11   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
12   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
13   Code § 51-53.)
14     31. Plaintiff repleads and incorporates by reference, as if fully set forth
15   again herein, the allegations contained in all prior paragraphs of this
16   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
17   that persons with disabilities are entitled to full and equal accommodations,
18   advantages, facilities, privileges, or services in all business establishment of
19   every kind whatsoever within the jurisdiction of the State of California. Cal.
20   Civ. Code §51(b).
21     32. The Unruh Act provides that a violation of the ADA is a violation of the
22   Unruh Act. Cal. Civ. Code, § 51(f).
23     33. Defendants’ acts and omissions, as herein alleged, have violated the
24   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
25   rights to full and equal use of the accommodations, advantages, facilities,
26   privileges, or services offered.
27     34. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
28   discomfort or embarrassment for the plaintiff, the defendants are also each


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 1   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 2   (c).)
 3
 4             PRAYER:
 5             Wherefore, Plaintiff prays that this Court award damages and provide
 6   relief as follows:
 7           1. For injunctive relief, compelling Defendants to comply with the
 8   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 9   plaintiff is not invoking section 55 of the California Civil Code and is not
10   seeking injunctive relief under the Disabled Persons Act at all.
11           2. Damages under the Unruh Civil Rights Act, which provides for actual
12   damages and a statutory minimum of $4,000 for each offense.
13           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
14   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
15
16   Dated: July 14, 2020                 CENTER FOR DISABILITY ACCESS
17
18                                        By:
19
20                                        _______________________

21                                               Russell Handy, Esq.
                                                 Attorney for plaintiff
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